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                        UNITED STATES DISTRICT COURT                          JS-6
                       CENTRAL DISTRICT OF CALIFORNIA

                            CIVIL MINUTES – GENERAL

 Case No: SA CV 15-00865- DOC-(SHK)                        Date: November 2, 2021

 Title: HsingChing Hsu v. Puma Biotechnology, Inc. et al



PRESENT: THE HONORABLE DAVID O. CARTER, UNITED STATES DISTRICT JUDGE

               Karlen Dubon                                 Not Present
              Courtroom Clerk                              Court Reporter

      ATTORNEYS PRESENT FOR                      ATTORNEYS PRESENT FOR
            PLAINTIFF:                                DEFENDANT:
           None Present                                None Present


 PROCEEDINGS: (IN CHAMBERS): ORDER DISMISSING CIVIL CASE

        The Court, having been notified by counsel for the parties that this action
 has been settled re Notice of Settlement [878], hereby orders this action
 DISMISSED with prejudice. The Court hereby orders ALL proceedings in the
 case VACATED and taken off calendar. The Court retains jurisdiction for 60 days
 to vacate this order and reopen the action upon showing of good cause that the
 settlement has not been consummated.

       The Clerk shall serve this minute order on the parties.




  MINUTES FORM 11
  CIVIL-GEN                                                       Initials of Deputy Clerk: kdu
